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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF SOUTH DAKOTA
                           SOUTHERN DIVISION



  UNITED STATES OF AMERICA, CR 22-40066

                     Plaintiff, FACTUAL BASIS STATEMENT

       vs.



  LEVI JOSEPH CULVER,

                     Defendant.



      The Defendant states that the following facts are true, and the parties


agree that they establish a factual basis for the offense«» to which the Defendant


is pleading guilty pursuant to Fed. R. Crim. P. ll(b)(3):

      My name is Levi Joseph Culver.


      I bought and sold narcotics, including methamphetamine, on the dark


web. On June 22, 2022, law enforcement executed a search warrant at ray home


in Sioux Falls, South Dakota. During the search, they found approximately 2.6


kg of methamphetamine and other narcotics. I knew that these narcotics were


in my home, and I intended to distribute them through the mail to drug

customers over the dark web. Specifically, I intended to distribute over 500


grams of methamphetamine in this manner.


      The parties submit that the foregoing statement of facts is not intended to


be a complete description of the offense or the Defendant's involvement in it.


Instead, the statement is offered for the limited purpose of satisfying the


requirements of Fed. R. Crim. P. 1 l(b)(3). The parties understand that additional
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information relevant to sentencing, including additional drug quantities, may be


developed and attributed to the Defendant for sentencing purposes.




                                     ALISON J. RAMSDELL
                                     United States Attorney




     03/27/2023
Date Mark Hodges
                                     Assistant United States Attorney
                                     P.O. Box 2638
                                     Sioux Falls, SD 57101-2638
                                     Telephone: (605)357-2346
                                     Facsimile: (605)330-4410
                                     E-Mail: mark.hodges@usdoj.gov




        ^-^ 1^.
Date Levi Joseph Culver
                                     Defendant




^-M -zoz.^ /tUfJ^j /h- -C^S
Date Matthew M. Powers
              Attorney for Defendant




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